                                  IN	  THE	  UNITED	  STATES	  DISTRICT	  COURT	  	  
                                 FOR	  THE	  MIDDLE	  DISTRICT	  OF	  TENNESSEE	  
                                                   AT	  NASHVILLE	  
 	  
 UNITED	  STATES	  OF	  AMERICA,	  	                 	          )	  
 	     	     	          	    	                       	          )	  
 	     	     	          	    	                       	          )	         Case	  No.	  	  3:10-­‐cr-­‐00260-­‐8	  
 v.	   	     	          	    	                       	          )	         William	  J.	  Haynes	  
 	     	     	          	    	                       	          )	         Federal	  District	  Judge	  
 	     	     	          	    	                       	          )	  
 FADUMO	  MOHAMED	  FARAH.	                            	          )	  
 	     	  
                                                          	  
                                         MOTION	  IN	  LIMINE	  #3	  
                                                          	  
                                                          	  
 	         Comes	  now	  the	  accused,	  Faduma	  Farah,	  by	  and	  through	  her	  counsel,	  Luke	  A.	  

 Evans,	  and	  moves	  this	  Honorable	  Court	  to	  issue	  an	  order	  directing	  the	  Government	  

 as	  follows:	  

 	         1.	        It	   is	   anticipated	   by	   the	   accused,	   that	   the	   Government	   will	   attempt	   to	  

 poison	   the	   jury	   by	   either	   referencing	   or	   putting	   on	   the	   testimony	   if	   Safiyo	   Nur,	  

 otherwise	  referred	  to	  as	  Jane	  Doe	  5.	  	  It	  is	  anticipated	  that	  Mrs.	  Nur	  will	  testify	  that	  

 Defendant	   made	   money	   off	   her	   at	   her	   apartment;	   however,	   the	   Defendant	   is	   not	  

 charged	   in	   any	   count	   with	   trafficking	   Mrs.	   Nur.	   	   She	   will	   further	   testify	   that	  

 Defendant	   made	   money	   of	   other	   girls	   from	   Minnesota,	   Ohio	   and	   Atlanta;	   however,	  

 Mrs.	  Nur	  does	  not	  identify	  these	  supposed	  girls	  as	  those	  listed	  in	  the	  indictment.	  Mrs.	  

 Nur	  is	  also	  expected	  to	  give	  testimony	  regarding	  several	  of	  the	  Defendants	  allegedly	  

 participating	   in	   commercial	   sex	   acts	   with	   individuals	   other	   than	   the	   Jane	   Does	  

 identified	  in	  the	  indictment.	  	  

 	         2.	        Based	   on	   the	   foregoing,	   the	   accused	   moves	   this	   Honorable	   Court	   to	  

 issue	  an	  Order	  directing	  the	  Government	  to	  refrain	  from	  referencing	  in	  any	  manner,	  



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 in	   the	   presence	   of	   jury,	   any	   facts	   derived	   from	   Mrs.	   Nur.	   Further,	   that	   the	  

 government	  be	  prohibited	  from	  putting	  forward	  the	  testimony	  of	  Safiyo	  Nur.	  	  

              3.	         Any	   information	   regarding	   those	   allegations	   would	   be	   irrelevant	   at	  

 the	  trial	  in	  this	  cause	  pursuant	  to	  the	  Federal	  Rules	  of	  Evidence,	  401,	  402.	  	  Moreover,	  

 if,	   said	   information	   were	   allowed	   to	   be	   presented	   to	   the	   jury,	   it	   would	   be	   unfairly	  

 prejudicial	   to	   the	   accused	   and	   likely	   confuse	   the	   jury	   and/or	   mislead	   the	   jury	   for	  

 their	   consideration	   of	   the	   indicted	   offense	   in	   violation	   of	   Rule	   403	   of	   the	   Federal	  

 Rules	  of	  Evidence.	  	  	  

 	           4.	   	   Additionally,	   to	   introduce	   such	   evidence	   to	   the	   jury	   in	   this	   cause	   would	  

 violate	  Rule	  404b	  of	  the	  Federal	  Rules	  of	  Evidence,	  as	  it	  is	  evidence	  of	  “other	  acts”	  

 that	   is	   unfairly	   prejudicial	   and	   without	   sufficient	   corroboration;	   therefore,	   the	  

 Government	   should	   be	   required	   to	   conduct	   a	   jury	   out	   hearing,	   in	   full	   compliance	  

 with	   Rule	   404b	   of	   the	   Federal	   Rules	   of	   Evidence,	   prior	   to	   either	   referencing	   or	  

 presenting	  such	  evidence	  to	  the	  Jury.	  	  	  	  	  

 	           WHEREFORE,	  PREMISES	  CONSIDERED,	  the	  accused,	  through	  counsel,	  moves	  

 this	   Honorable	   Court	   for	   the	   relief	   as	   stated	   herein,	   as	   well	   as	   any	   further	   general	  

 relief	  that	  this	  Court	  deems	  both	  necessary	  and	  proper.	  	  	  

                                                    Respectfully submitted,
              	  
                                                    BULLOCK,	  FLY,	  HORNSBY	  &	  EVANS	  
 	  
 	  
                                                    /s/	  Luke	  A.	  Evans	  
                                                    LUKE	  A.	  EVANS,	  BPR	  #23620	  
                                                    Attorney	  for	  Defendant	  
                                                    302	  North	  Spring	  Street	   	                  	  
                                                    P.	  O.	  Box	  398	  
                                                    Murfreesboro,	  TN	  37133-­‐0398	  
                                                    (615)	  896-­‐4154	  



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                                                     Certificate	  of	  Service	  
                                                                       	  
 	        I	  hereby	  certify	  that	  on	  March	  9,	  2012,	  I	  electronically	  filed	  the	  foregoing	  
 Motion	  with	  the	  clerk	  of	  the	  court	  by	  using	  the	  CM/ECF	  system,	  which	  will	  send	  a	  
 Notice	  of	  Electronic	  Filing	  to	  the	  following:	  Van	  Vincent,	  Assistant	  United	  States	  
 Attorney,	  110	  Ninth	  Avenue	  South,	  Suite	  A-­‐961,	  Nashville,	  Tennessee	  37203;	  along	  
 with	  the	  other	  parties	  in	  this	  case	  as	  listed	  to	  be	  noticed	  in	  the	  CM/ECF	  system.	  
 	  
 	        	         	        	             	          	          /s/	  Luke	  A.	  Evans___________________________	  
 	        	         	        	             	          	          LUKE	  A.	  EVANS	  
 	  
 	  
 	  
 	  




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